            Case 1:20-mc-00040-LJV Document 112 Filed 04/18/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK


 ANTONIO CABALLERO,

                                   Plaintiff,

            v.
                                                         Civil Case No. 20-MC-00040-LJV
 FUERZAS ARM ADAS REVOLUCIONARIAS               DE
 COLOM BIA, ET AL.,

                                  Defendants.




 NOTICE BY THE UNITED STATES CONCERNING POTENTIAL PARTICIPATION

        On March 4, 2022, the Court entered an order inviting the United States to submit a brief

addressing three specific questions posed by the Court, as well as “any other issues raised by this

litigation that the United States deems of interest.” Order, ECF No. 106, at 4. The Court has

provided the United States until April 18, 2022 to inform it whether the United States intends to

file a Statement of Interest. 1

        The United States appreciates the Court’s invitation and has carefully considered it. The

United States recently filed a Statement of Interest on closely related issues in the Southern District

of New York. See Fiona Havlish et al. v. Sheikh Usamah Bin-Muhammed Bin-Laden, a.k.a.

Osama Bin-Laden et al, No. 03 Civ. 9848 (GBD) (SN) (S.D.N.Y. Feb. 11, 2022), ECF No. 563

(attached hereto as Exhibit A) (the “Havlish Statement”). The Havlish Statement addresses several



        1 A submission by the United States in this matter would be pursuant to 28 U.S.C. § 517,
which authorizes the Attorney General to send any officer of the Department of Justice “to attend
to the interests of the United States in any suit pending in a court of the United States, or in a court
of a State, or to attend to any other interests of the United States.”
         Case 1:20-mc-00040-LJV Document 112 Filed 04/18/22 Page 2 of 3



of the issues raised in the Court’s order inviting the United States’ participation. See Ex. A., at 19-

27. The Plaintiff in the present matter has filed a motion to stay pending resolution of the Southern

District of New York proceedings, and the United States does not oppose such a motion. See Pl.

Antonio Caballero’s Mot. to Stay, ECF No. 111.

        In light of its recent participation in the Havlish case, and the Plaintiff’s motion to stay this

case pending resolution of that case, the United States respectfully declines to file a Statement of

Interest at this time, leaving open the possibility of a future submission. More specifically, the

United States requests that this Court afford it thirty days from the date that the Court lifts the stay,

if the stay motion is granted, or the date Court denies the stay motion, in order to file a notice

informing the Court whether it will file a Statement of Interest in this matter. Counsel for the

United State has conferred with counsel for the Plaintiff and Intervenors. Counsel for the Plaintiff

do not object to this request. Counsel for the Intervenors do not object to this request, but reaffirm

their clients’ opposition to Plaintiff’s motion to stay.

        The United States appreciates the Court’s patience and consideration in this matter.

Dated April 18, 2022                            Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                ANTHONY J. COPPOLINO
                                                Deputy Branch Director

                                                DIANE KELLEHER
                                                Assistant Branch Director

                                                /s/ Joseph E. Borson
                                                JOSEPH E. BORSON (Va. Bar No. 85519)
                                                Trial Attorney
                                                U. S. Department of Justice
                                                Civil Division, Federal Programs Branch
                                                1100 L St., NW
                                                Washington, D.C. 20005


                                                   2
Case 1:20-mc-00040-LJV Document 112 Filed 04/18/22 Page 3 of 3



                            Tel. (202) 514-1944
                            Email: joseph.borson@usdoj.gov

                            Counsel for the United States of America




                               3
